Case 1:16-cV-01094-P.]G ECF No. 100 filed 07/19/18 Page|D.1758 Page 1 of 2

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CERT|F|CATE OF SERV|CE OF DOCUMENT OTHER THAN COMPLA|NT
1. Case Name: Cindy Gamrat v Keith A||ard, et al
2. Case Number: 1:16-cv-1094

3. What documents were served? Defendant Joseph Gamrat's First Set of
interrogatories and Requests for Production of
Documents to Piaintiff

4. How was the document served?

x P|aced in U.S. Mai|

Hand-De|ivered
__ Sent for delivery (e.g., FedEx, UPS)
_ Sent by fax (if the other party has agreed to accept service by fax)
5. Who did you send the document to?

Ty|er E. Osburn

Schenk Boncher & Rypma

601 Three Mi|e Road NW
Grand Rapids, Michigan 49544

Brian T. Dai|ey

Dai|ey Law Firm

36700 Woodward Avenue, Suite 107
B|oomfie|d Hi||s, Michigan 48304

David Horr
821 Sanborn Street
Port Huron, Michigan 48060

6. When were documents sent? Ju|y 19, 2018

7. Who served the documents? Deanna K. Po|omcak
Lega| Assistant
5659 Stadium Drive
Ka|amazoo, Nlichigan 49009

Case 1:16-cV-01094-P.]G ECF No. 100 filed 07/19/18 PagelD.1759 Page 2 of 2

l declare under penalty of perjury under the laws of the United States that the
foregoing is true and correct.

signature DAAM w gigng

Name: Deanna K. Po|omcak

Address: Vlachos & V|achos, P.C.
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